 8:16-cr-00204-RFR-FG3          Doc # 72      Filed: 11/16/16      Page 1 of 1 - Page ID # 146




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:16CR204

       vs.
                                                                        ORDER
CRAIG HOLCOMB,

                      Defendant.


       This matter is before the court on the defendant's motion for a 21-day extension of time
in which to file pretrial motions [70]. Upon review of the file, the court finds that a 7-day
extension should be granted.


       IT IS ORDERED that the MOTION TO EXTEND TIME TO FILE PRETRIAL
MOTIONS [70] is granted, in part, as follows:
       1.      The deadline for filing pretrial motions is extended to November 22, 2016.
       2.      In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between November 15, 2016 and November 22, 2016, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for
the reason that counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B)(iv).


       Dated this 16th day of November, 2016.

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
